                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:06 CR 31-4


UNITED STATES OF AMERICA,                         )
                                                  )
Vs.                                               )              ORDER
                                                  )
DANNY LEE HALL,                                   )
                                                  )
                  Defendant.                      )
________________________________________          )


        THIS CAUSE coming on to be heard and being heard before the undersigned,

pursuant to a motion filed by the defendant entitled, “Motion for Reconsideration of Bond”,

and it appearing to the court at the call of this matter on for hearing that the defendant was

present with counsel, Robert W. Adams, and that the Government was present through

Assistant United States Attorney, Corey Ellis, and from the evidence offered, the records in

this cause and the arguments of counsel for the defendant and for the Government, the

undersigned makes the following findings:

        Findings.    An Indictment was issued on April 4, 2006 charging the defendant with

conspiracy to manufacture and possess with intent to distribute methamphetamine. After the

defendant’s arrest, a detention hearing was held and the undersigned ordered that the

defendant be detained pending trial and on May 3, 2006 entered an order setting forth the

factors that the undersigned considered in ordering the detention of the defendant. On July

6, 2006 the defendant entered a plea of guilty to the charges contained in the Bill of

Indictment. On July 19, 2006 counsel for the defendant filed a motion entitled, “Motion for

Reconsideration of Bond”. In the motion, the defendant’s counsel set forth reasons as to a
      Case 1:06-cr-00031-MR-WCM           Document 166         Filed 08/01/06      Page 1 of 4
change of circumstances, that being that the defendant had entered into a plea agreement; that

the evidence showed minimal involvement of the defendant; and that “almost all of the co-

defendants in this case have been placed on pretrial release”.

       The undersigned herewith incorporates by reference the order detaining the defendant

entered on May 3, 2006.

       Discussion. Evidence was presented by the defendant, through the defendant’s

mother, advising that she and her mother needed the defendant to be released to assist in care,

not only for the defendant’s mother, but also for the defendant’s grandmother. The defendant

further presented evidence through proffer that there were only two references in discovery

to the defendant and that the defendant’s involvement in the conspiracy had been minimal.

       The undersigned has reviewed all factors as set forth under 18 U.S.C. § 3142(g) and

finds as follows:

       1.     The nature and circumstances of the defendant involve a narcotic drug.

       2.     The weight of the evidence against the defendant appears to be strong. The

defendant has entered a plea of guilty.

       3.     The undersigned incorporates by reference the findings under this factor as set

forth in the order filed on May 3, 2006. The court notes that the defendant has two felony

convictions and 10 misdemeanor convictions, including two convictions for assault on a

female. The defendant’s criminal record shows that the defendant has criminal convictions

during each and every year from and after 1989 except for the year 2000. The defendant



                                              2


    Case 1:06-cr-00031-MR-WCM              Document 166          Filed 08/01/06      Page 2 of 4
does not have employment because he is disabled and he is receiving disability benefits.

       4.     Considering the nature and seriousness of any danger to any other person or

the community that would be posed by the person’s release, the defendant’s criminal history

shows that there is a danger to any other person or the community that would be posed by his

release. Also, the defendant’s involvement in a methamphetamine conspiracy is evidence

of a danger of release to the community.

       Having considered the issue of pretrial release in this matter and particularly the

defendant’s criminal record for acts of violence and felony convictions, the undersigned is

of the opinion that the release of the defendant would create a danger to the community and

that there has not been evidence presented that would show a change of circumstances that

would cause the undersigned to believe that such danger still exists.

       As a result, the undersigned has determined to enter an order denying the motion of

the defendant to be released on terms and conditions of pretrial release.

                                           ORDER

       WHEREFORE, the undersigned, having reconsidered the issue of pretrial release of

the defendant, herewith enters an ORDER directing that the defendant continue to be

detained pending further proceedings in this matter.




                                              3


   Case 1:06-cr-00031-MR-WCM               Document 166      Filed 08/01/06     Page 3 of 4
                                Signed: August 1, 2006




                                4


Case 1:06-cr-00031-MR-WCM   Document 166    Filed 08/01/06   Page 4 of 4
